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UNITED STATES BANKRUPTCY COURT

 

 

 

DISTRICT OF CONNECTICUT

IN RE:
JOHNNY RAY MOORE __ -CHAPTERII

DEBTOR

: CASE NO. 12-51027 AHWS

JOHNNY RAY MOORE

DEBTOR
VS.

JPMORGAN CHASE BANK NATIONAL ASSOCIATION
THE BANK OF NEW YORK MELLON
FKA THE BANK OF NEW YORK, AS TRUSTEE FOR
THE CERTIFICATEHOLDERS OF THE CWABS INC.,
ASSET-BACKED CERTIFICATES, SERIES 2006-12
RESPONDENTS : JANUARY 16, 2013

PROPOSED JOINT SCHEDULING ORDER

 

WHEREAS, Johnny Ray Moore (“Debtor”) having filed Objections to Proofs of
Claims Nos. 13, 15, and 16 and said Objections having been filed, duly noticed, and heard together
with all objections made of record;
NOW THEREFORE, it is hereby ORDERED that on February 19, 2013, a Status Conference
will be held before the Court at which time all parties subject to this Scheduling Order will present
their legal arguments on the sole legal issue of Issue Preclusion pertaining specifically to the issues
raised in the Debtor’s Objections; and it is further
ORDERED that, no Pre-Trial Order shall be filed with this Court until after the Status Conference
is held and only upon further Order of this Court, and it further
ORDERED that this Order shall be served upon all parties entitled to service.

Dated: January 16, 2013 BY THE COURT

HUNT LEIBERT JACOBSON, PC. e ATTORNEYS AT LAW
50 WESTON STREET @ HARTFORD, CONNECTICUT 06120 e@ (860) 808-0606 e JURIS NO. 101589

 

 
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CERTIFICATION

[hereby certify that a copy of the foregoing was served upon all of the following

 

 

 

 

class mail, on this 16" day of January, 2013.

Johnny Ray Moore
15 Sachem Drive
Shelton, CT 06484
(Pro Se Debtor)

Oak Harbor Capial VI, LLC
c/o Weinstein & Riley, P.S.
2001 Western Avenue, Ste 400
Seatlle, WA 98121

(Creditor)

PRA Receivables Management LLC
POB 41067

Norfolk, VA 23541

(Creditor)

Bank of America, N.A.
Bankruptcy Department

PO Box 26012
NC4-105-02-99

Greensboro, NC 27420-6012
(Creditor)

Discover Bank, NB Servicing Corporation
PO Box 3025

New Albany OH 43054-3025

(Creditor)

Merrick Bank

Resurgent Capital Services
PO Box 10368

Greenville, SC 29603
(Creditor)

State of CT Dept of Revenue Svcs
Office of the Attorney General

55 Elm Street

Hartford, CT 06106

The Bank of New York Mellon
c/o Bank of America

7105 Corporate Drive

Plano, TX 75024

(Creditor)

American InfoSource LP

As Agent for Midland Funding LLC
PO Box 268941

Oklahoma City OK 73126
(Creditor)

Bank of new York
7105 Corporate Drive
Plano, TX 75024
(Creditor)

FIA Card Services, N.A.

PO Box 15102

Wilmington, DE 19886-5102
(Creditor)

Bank of America

c/o Prober & Raphael

20750 Ventura Blvd Suite 100
Woodland Hills CA 91364
(Creditor)

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Tower Lien, LLC

 

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PO Box 823502

Philadelphia, PA 19182 Azurea I, LLC

(Creditor) c/o Weinstein & Riley a
2001 Western Avenue Ste 400

Asset Acceptance, LLC Seattle, WA 98121

PO Box 2036

Glendale, CO 80246

(Creditor) Holley L. Claiborn

Keystone Recovery Partners, LLC
2001 Western Avenue Suite 400
Seattle, WA 98121

(Creditor)

Specialized Loan Servicing, LLC
Attn: Bankruptcy Department
8742 Lucent Blvd. Suite 300
Highlands Ranch, Colorado 80129
(Creditor)

January 16, 2013 By:

Office of The United States Trustee
The Giaimo Federal Building

150 Court Street, Room 302

New Haven, CT 06510

(Trustee)

U.S. Trustee

Giaimo Federal Building
150 Court Street, Room 302
New Haven, CT 06510

 

Linda J. St. Pierre? Esq.
Hunt Leibert Jacobson, P.C.
Federal Bar No. CT 22287

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